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                    iN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )       CR 108-062
                                            )
EDWARD JEROME NEWSOME                       )



                                      ORDER

       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, the "Motion to Suppress For Violations of the Fourth Amendment to

the United States Constitution All Intercepted Conversations and All Fruits Thereof Made

from September 27, 2007 to October 27, 2007 Pursuant to the September 27, 2007 Superior

Court Order Authorizing the Interception of Wire Communications for the Cell Phone of

Kathryn Smith" is DENIED. (Doc. no. 228).

       SO ORDERED this           day of November, 2008, at Augusta, Georgia.
